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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE


    In re                                                                 Chapter 11

                                                                          Bankruptcy Case No. 20-10343 (LSS)
    Boy Scouts of America and Delaware BSA, LLC,1
                        Debtors.
                                                                          (Jointly Administered)

    National Union Fire Insurance Co. of Pittsburgh,
    PA, et al.,
                          Appellants.

    v.                                                                    Case No. 22-cv-01237-UNA

    Boy Scouts of America and Delaware BSA, LLC,

                                 Appellees.

    Travelers Casualty and Surety Company, Inc. et al.,
                          Appellants.

    v.                                                                    Case No. 22-cv-01238-UNA

    Boy Scouts of America and Delaware BSA, LLC,

                                 Appellees.

    Old Republic Insurance Company,

                                 Appellant.
                                                                          Case No. 22-cv-01239-UNA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                                 Appellees.




1
         The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
         number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
         address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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General Star Indemnity Company,

                    Appellant.
                                               Case No. 22-cv-01240-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                    Appellees.

Indian Harbor Insurance Company,

                    Appellant.                 Case No. 22-cv-01241-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                    Appellees.

Munich Reinsurance America, Inc.,

                    Appellant.
                                               Case No. 22-cv-01242-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                    Appellees.

Arch Insurance Company,

                    Appellant.
                                               Case No. 22-cv-01243-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                    Appellees.




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Great American Assurance Company et al.,

                      Appellants.                   Case No. 22-cv-01244-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

The Continental Insurance Co., et al.,

                      Appellants.
                                                    Case No. 22-cv-01245-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

Gemini Insurance Company,

                      Appellant.
                                                    Case No. 22-cv-01246-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

Traders and Pacific Insurance Company et al.,

                      Appellants.
                                                    Case No. 22-cv-01247-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.




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D & V Claimants,

                     Appellants.
                                               Case No. 22-cv-01249-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

Argonaut Insurance Company et al.,

                     Appellants.
                                               Case No. 22-cv-01250-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

Arrowood Indemnity Company,

                     Appellant.
                                               Case No. 22-cv-01251-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

Liberty Mutual Insurance Company et al.,

                     Appellants.
                                               Case No. 22-cv-01252-UNA
v.

Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.




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    The Archbishop of Agaña,

                               Appellant.
                                                                   Case No. 22-cv-01254-UNA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                               Appellees.

    The Lujan Claimants,

                               Appellants.
                                                                   Case No. 22-cv-01258-UNA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                               Appellees.


    Allianz Global Risks US Insurance Company et
    al.,
                         Appellants.
                                                                   Case No. 22-cv-01263-UNA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                               Appellees.

      JOINT MOTION FOR CONSOLIDATION AND TO APPROVE STIPULATION
          REGARDING APPEALS FROM ORDER CONFIRMING PLAN OF
    REORGANIZATION OF BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

             Boy Scouts of America and Delaware BSA, LLC (together, the “Debtors”) and the Certain

Insurers,2 the claimants represented by Dumas & Vaughn, LLC, and the Archbishop of Agaña, a


2
         The Certain Insurers are Allianz Global Risks US Insurance Company, National Surety Corporation, Interstate
         Fire & Casualty Company, Argonaut Insurance Company, Colony Insurance Company, Liberty Mutual Insurance
         Company, General Star Indemnity Company, Great American Assurance Company f/k/a Agricultural Insurance
         Company, Great American E&S Insurance Company f/k/a Agricultural Excess and Surplus Insurance Company,
         Great American E&S Insurance Company, Arch Insurance Company, Continental Insurance Company, Columbia
         Casualty Company, Indian Harbor Insurance Company on behalf of itself and as successor in interest to Catlin



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Corporation Sole, and other parties in interest that have sought review of the Confirmation Order

(as defined below) by this Court (collectively, the “Appellants”3 and, together with the Debtors

and the Additional Appellees,4 the “Parties”)5 hereby move this Court for entry of an order,

substantially in the form attached hereto as Exhibit A (the “Proposed Order”), procedurally

consolidating the appeals, approving the Stipulation Regarding Appeals from Order Confirming

Plan of Reorganization of Boy Scouts of America and Delaware BSA, LLC, attached to the

Proposed Order as Exhibit 1 (the “Stipulation”) and setting a date for oral argument, and state as

follows:

                                                BACKGROUND

          1.       On July 29, 2022, the United States Bankruptcy Court for the District of Delaware

(the “Bankruptcy Court”) entered and docketed its opinion in connection with confirmation of the

Debtors’ plan of reorganization [Bankruptcy D.I. 10136] (the “Opinion”). On September 8, 2022,

the Bankruptcy Court docketed and entered its Supplemental Findings of Fact and Conclusions of



      Specialty Insurance Company, Travelers Casualty and Surety Company, Inc. (f/k/a Aetna Casualty & Surety
      Company), St. Paul Surplus Lines Insurance Company, Gulf Insurance Company, Arrowood Indemnity
      Company, Gemini Insurance Company, Munich Reinsurance America, Inc., formerly known as American Re-
      Insurance Company, Traders and Pacific Insurance Company, Endurance American Specialty Insurance
      Company, Endurance American Insurance Company, Old Republic Insurance Company, National Union Fire
      Insurance Company of Pittsburgh, PA, Lexington Insurance Company, Landmark Insurance Company, and The
      Insurance Company of the State of Pennsylvania. Markel Service, Incorporated, Claims Service Manager for
      Alterra Excess & Surplus and Evanston Insurance Company, was included as a Certain Insurer in the Bankruptcy
      Court proceedings but has not filed a notice of appeal.
3
      The undersigned Appellants have reached agreement with the Debtors and do not purport to speak for or have
      authority to act on behalf of other potential parties in interest.
4
      The Tort Claimants’ Committee, the Coalition, the Future Claimants’ Representative, Pfau/Zalkin, Hartford,
      Century and Chubb Companies, Zurich Insurers and Zurich Affiliated Insurers, Clarendon, the Creditors’
      Committee, the Ad Hoc Committee, JPM, and the United Methodist ad hoc committee (collectively, the
      “Additional Appellees”) have played active roles in the Chapter 11 Cases, including filing pleadings and
      statements in support of the Plan and the Confirmation Order and participating at the Confirmation Hearing and
      may wish to file briefs in support of the Plan and the Confirmation Order in the Appeals.
5
      The Lujan Claimants are a party and signatory to the terms of the Stipulation, but did not authorize the Debtors
      to sign this Motion on their behalf due to last-minute comments to this Motion from counsel to the Lujan
      Claimants that were not included in the Motion.



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Law and Order Confirming the Third Modified Fifth Amended Chapter 11 Plan of Reorganization

(with Technical Modifications) for Boy Scouts of America and Delaware BSA, LLC [Bankruptcy

D.I. 10316] (the “Confirmation Order”), confirming the Third Modified Fifth Amended Chapter

11 Plan of Reorganization (with Technical Modifications) for Boy Scouts of America and

Delaware BSA, LLC [Bankruptcy D.I. 10296] (the “Plan”).6 On September 12, 2022, the

Bankruptcy Court docketed and entered its Order Releasing Pre-Petition Century/Chubb Claims

Pursuant to Century and Chubb Companies Insurance Settlement Agreement [Bankruptcy D.I.

10327] (“the “Century/Chubb Order”).

          2.       On September 21 and 22, 2022, the Appellants filed notices of appeal of the

Confirmation Order, the Opinion, the Century/Chubb Order, and all other subsumed judgments,

orders, and decrees (collectively, the “Appeals”).

          3.       After weeks of mediation, the Parties reached an agreement on the procedure for

this Court’s consideration of the Appeals that the Parties believe provides for an orderly, efficient,

and timely review process, which is set forth in the Stipulation.

                                            RELIEF REQUESTED

          4.       The Parties seek this Court’s approval of the Stipulation to establish the procedures

for the Appeals.

          A.       Consolidation

          5.       The Parties seek to procedurally consolidate the Appeals and any other appeals of

the Opinion and the Confirmation Order pursuant to Rule 8003(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) under a single case number: Case No. 22-cv-




6
      Capitalized terms that are used but not otherwise defined herein shall have the meaning ascribed to such terms in
      the Plan.



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01237. The Parties have agreed, subject to Court approval, to file papers under the master case

number, with filings peculiar to any individual appeal to be docketed under both the master case

number and the individual appeal case number. The Parties request that the appeal styled as D.W.

v. Boy Scouts of America & Delaware BSA, LLC, C.A. No. 22-1121-RGA, and any additional

appeals of the Opinion and the Confirmation Order in the matter of In re Boy Scouts of America

and Delaware BSA, LLC, automatically be subject to the Proposed Order.7

          B.       Effective Date of the Plan

          6.       An order of this Court on appeal under certain circumstances has been defined to

constitute an “Affirmation Order” under the terms set forth in the Confirmation Order and the Plan.

See Confirmation Order ¶ II.K.2. Absent waiver, entry of an Affirmation Order is a condition

precedent to the Effective Date of the Plan.

          7.       The Debtors have agreed not to waive the condition precedent to the Effective Date

of the Plan set forth in Article IX.B.1(a) of the Plan prior to entry of this Court’s decision and order

on the Appeals, without providing 28 days’ prior notice to the Appellants through email to their

undersigned counsel. Entry of an Affirmation Order satisfies the condition precedent to the

Effective Date of the Plan set forth in Article IX.B.1(a) of the Plan such that waiver is no longer

required. Stipulation ¶ 2.

          C.       Waiver of Mediation

          8.       On June 9, 2020, the Bankruptcy Court appointed mediators in the Debtors’

Chapter 11 Cases for the purpose of mediating various issues, including issues concerning the

confirmation of a chapter 11 plan. Thus, the Debtors have engaged in discussions with the




7
      The Debtors are also in the process of reaching out to D.W. as of the date hereof to request that he join the
      Stipulation.



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Appellants in connection with the Plan, including through regular formal mediation discussions

over the course of nearly two years, but the objections could not be resolved. The Parties agree

that a further formal mediation under the Court’s July 23, 2004 Standing Order and September 11,

2012 Standing Order, referring appeals from the Bankruptcy Court to mediation, will not succeed

and will only delay the case.

       9.      As set forth in the Stipulation, the Parties request that these matters be withdrawn

from the mandatory referral for mediation and immediately proceed through the appellate process

of this Court. Stipulation ¶ I.

       D.      Designation of the Record

       10.     Each Appellant has agreed to file a Designation of Record and a Statement of Issues

on the issues to be presented in their appeal within 10 days after the last date on which an Appellant

filed its notice of appeal, rather than the 14 days provided under Bankruptcy Rule 8009. The

Debtors and Additional Appellees have agreed to file Counter-Designations of Record within 3

days of the filing of the Appellants’ Designation of Record, rather than the 14 days provided under

Bankruptcy Rule 8009.       The Parties have agreed to cooperate to facilitate the expeditious

transmittal by the bankruptcy clerk to this Court of the record or notice that the record is available

electronically. Stipulation ¶ 5.

       E.      Appellees/Intervenors

       11.     The Parties have agreed, subject to Court approval, that the Additional Appellees

are permitted, but are not required, to intervene in the Appeals without having to file a motion

pursuant to Bankruptcy Rule 8013. To the extent that the applicable rules require intervention by

any of the Additional Appellees, the Parties request that the Additional Appellees be allowed to




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intervene. All Parties’ rights to challenge standing are preserved and are not affected by the

Stipulation. Stipulation ¶ 8.

       F.      Briefing Timeline and Word Limitations

       12.     The Appellees wanted expedited briefing on this appeal, and the Appellants wanted

more time than provided for under Bankruptcy Rule 8018(a). Ultimately, the Parties agreed,

subject to Court approval, to submit briefing on the timeline set forth in Bankruptcy Rule 8018(a),

which is for the Appellants to file their opening briefs within 30 days of when the record is

available, for Appellees to file response briefs within 30 days of the opening briefs, and for

Appellants to file reply briefs within 14 days of the response briefs. Stipulation ¶ 9.

       13.     The Parties and Additional Appellees also agreed to endeavor to avoid duplicative

briefing on appellate issues and to act in good faith to streamline briefing to the extent feasible.

As of the date of this Motion, there are a total of 19 appeals arising from the Confirmation Order.

If each Appellant were to file separate 13,000 word principal briefs, as provided in Bankruptcy

Rule 8015(a)(7)(B) for each appeal, over 247,000 words of briefing would be presented to this

Court. Instead, the Appellants request word limits that, while exceeding the default word limit

requirements in certain instances, nonetheless will promote judicial economy by consolidating

briefing and avoiding duplication. The Debtors agreed to such limitations with the understanding

that they will receive additional words in length equal to the limits for each principal brief or

supplemental brief filed by appellants.

       14.     The Parties and Additional Appellees will comply with Bankruptcy Rules 8014 and

8015, but request that the Court approve the following word limitations with respect to briefing of

the Appeals:




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               (a)     Each Appellant, other than the Certain Insurers, shall file its principal brief

or briefs in respect of its Appeal, each of which, may be up to 19,500 words in length, within thirty

(30) days from the filing of the Counter-Designation(s) of Record. The Certain Insurers may file

(i) one principal brief of up to 19,500 words; and (ii) supplemental briefs not to exceed 13,000

words in total, each within thirty (30) days from the filing of the Counter-Designation(s) of Record.

Stipulation ¶ 9(b).

               (b)     The Debtors shall file a single, consolidated brief in response to all of the

Appellants’ principal briefs within thirty (30) days following the filing of the Appellants’ principal

briefs, and the total number of words in such consolidated response may be up to 19,500 words in

response to the Certain Insurers’ principal brief and additional words in length equal to the limits

for each other principal brief or supplemental brief filed (e.g., to the extent that there are two other

principal briefs filed by Appellants other than the Certain Insurers, the Debtors’ consolidated brief

in response may be up to 19,500 words plus an additional 39,000 words). Stipulation ¶ 9(c).

               (c)     Any response brief filed by any of the Additional Appellees may be up to

13,000 words in length per brief submitted by such Additional Appellee, and shall be filed within

thirty (30) days following the filing of the Appellants’ principal briefs. Stipulation ¶ 9(d).

               (d)     Each Appellant that has filed a principal or supplemental brief may file a

brief in reply to all response briefs within fourteen (14) days following the filing of such response

briefs. The Certain Insurers may file (i) one principal reply brief, up to 10,000 words in length,

plus an additional 10,000 words for each response brief filed by Additional Appellees, and (ii)

additional supplemental reply brief(s), up to 6,500 words in length, plus an additional 6,500 words

for each response brief filed by Additional Appellees. Each Appellant, other than the Certain




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Insurers, may file a reply brief, up to 10,000 words in length, plus an additional 10,000 words for

each response brief filed by Additional Appellees. Stipulation ¶ 9(e).

       G.      Oral Argument

       15.     The Parties respectfully request that the Court schedule oral argument as soon as

practicable after the briefing is complete, which should be approximately on December 21.

                                        CONCLUSION

       WHEREFORE, the Parties respectfully request entry of the Proposed Order, substantially

in the form attached hereto as Exhibit A, or as may be modified by the Court.




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Dated: September 27, 2022

 For the Debtors:                                    For the Certain Insurers:

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                            LOCAL RULE 7.1.1 CERTIFICATION

       Pursuant to D. Del. L.R. 7.1.1, the undersigned hereby certifies that the counsel for the

Debtors/Appellees have met and conferred with the Appellants and Additional Appellees (each as

defined in the Stipulation) and reached agreement on the matters set forth in this Motion and the

Appellants, Appellees, and Additional Appellees do not oppose this Motion.




 Dated: September 27, 2022                         /s/ Derek C. Abbott

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                              CERTIFICATE OF COMPLIANCE

       Pursuant to Fed. R. Bankr. P. 8015(h), the undersigned hereby certifies that this motion

complies with the type-volume limitation of Fed. R. Bankr. P. 8013(f)(3)(A). Exclusive of the

exempted portions specified in Fed. R. Bankr. P. 8015(g), the motion contains 2,091 words. The

motion has been prepared using Microsoft Word. The undersigned has relied upon the word count

feature of this word processing software in preparing this certificate.


 Dated: September 27, 2022                        /s/ Derek C. Abbott
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